Case 3:19-cv-02437-DMS-RBB Document 16 Filed 05/22/20 PageID.452 Page 1 of 3




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  10   Company, LLC, Instant Checkmate, LLC,
       and TruthFinder, LLC
  11
  12                        UNITED STATES DISTRICT COURT
  13                      SOUTHERN DISTRICT OF CALIFORNIA
  14
  15   CHRISTOPHER BENTLEY; NICHOLAS                  CASE NO. 19-cv-2437 DMS RBB
       LONGO; HENDRY IDAR III; VINCENT
  16   HARDY; JESUS SANCHEZ; and                      Hon. Dana M. Sabraw
       TARYN MITCHELL, on behalf of
  17   themselves and of others similarly situated,
                                                      DEFENDANTS’ NOTICE OF
  18                             Plaintiffs,          MOTION AND MOTION FOR
                                                      LIMITED EXPEDITED
  19                        v.                        DISCOVERY
  20   THE CONTROL GROUP MEDIA
       COMPANY, INC.; INSTANT                         Hearing
  21   CHECKMATE, LLC; TRUTHFINDER,
       LLC,                                           Date: July 10, 2020
  22                                                  Time: 1:30 p.m.
                                 Defendants.          Courtroom: 13A, 13th Floor
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       DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR LIMITED EXPEDITED
       DISCOVERY                              Case No. 19-cv-2437 DMS RBB
Case 3:19-cv-02437-DMS-RBB Document 16 Filed 05/22/20 PageID.453 Page 2 of 3




   1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE THAT, on July 10, 2020 at 1:30 p.m. before the
   3   Honorable Dana M. Sabraw, United States District Judge, in Courtroom 13A on the
   4   13th Floor of the U.S. District Court for the Southern District of California, located
   5   at James M. Carter and Judith N. Keep United States Courthouse, 333 West
   6   Broadway, San Diego, CA 92101, Defendants, by counsel, will move this Court for
   7   an order granting limited expedited discovery to determine whether E-Legal, Inc.
   8   d/b/a Easy Expunctions.com (“Easy Expunctions”) remained Plaintiffs’ agent when
   9   it agreed to Defendants’ website terms thus requiring Plaintiffs to arbitrate their
  10   claims. This Motion is based on this Notice of Motion and Motion, the following
  11   Memorandum of Points and Authorities, the complete files and records in this action,
  12   and such further evidence and argument the Court might allow.
  13         The Motion is made following the conference of counsel on May 22, 2020
  14   pursuant to Civil L.R. 26.1.
  15                                          Respectfully submitted,
  16 Dated: May 22, 2020                      GORDON REES SCULLY
                                              MANSUKHANI, LLP
  17
  18                                          By: /s/ Hazel Mae B. Pangan
  19                                              Hazel Mae B. Pangan
                                                  Damon W.D. Wright
  20                                              Attorneys for Defendants
  21                                              THE CONTROL GROUP MEDIA
                                                  COMPANY, LLC, INSTANT
  22                                              CHECKMATE, LLC,
  23                                              TRUTHFINDER, LLC
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       DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR LIMITED EXPEDITED
       DISCOVERY                              Case No. 19-cv-2437 DMS RBB
Case 3:19-cv-02437-DMS-RBB Document 16 Filed 05/22/20 PageID.454 Page 3 of 3




   1                            CERTIFICATE OF SERVICE
   2         The undersigned hereby certifies that on May 22, 2020 the foregoing Motion
   3   was filed through the Court’s CM/ECF system, which will send notification of
   4   such filing to the e-mail addresses denoted on the Electronic Mail Notice List.
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   6                                      /s/ Hazel Mae B. Pangan
   7                                       Hazel Mae B. Pangan

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       DISCOVERY                              Case No. 19-cv-2437 DMS RBB
